       Case 4:18-cv-00382-MW-MAF Document 31 Filed 12/03/18 Page 1 of 9




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                               TALLAHASSEE DIVISION

CARTER HICKMAN,

       Plaintiff,

v.                                                    CASE NO. 4:18-cv-00382-MW-CAS

FLORIDA DEPARTMENT OF
CORRECTIONS,

      Defendant.
____________________________________/

                             SECOND AMENDED COMPLAINT

       Plaintiff, Carter Hickman, by and through the undersigned counsel, hereby sues

Defendant, Florida Department of Corrections, and alleges:

                                  NATURE OF THE ACTION

       1.      This is an action brought pursuant to Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000e et seq., and 42 U.S.C. §1981a, and Age Discrimination in Employment Act, 29

U.S.C. §621 et seq., to remedy acts of race and age discrimination perpetrated against Plaintiff

by Defendant Florida Department of Correction.

       2.      This is an action involving claims which are, individually, in excess of Fifteen

 Thousand Dollars ($15,000.00), exclusive of costs and interest.

                                         THE PARTIES

       3.      At all times pertinent hereto, Plaintiff Carter Hickman has been a resident of the

State of Florida and was employed by Defendant Florida Department of Corrections. Plaintiff is

a member of a protected class due to his race, black, his religion and his age.

       4.      At all times pertinent hereto, Defendant Florida Department of Corrections
       Case 4:18-cv-00382-MW-MAF Document 31 Filed 12/03/18 Page 2 of 9




(“DOC”) has been organized and existing under the laws of the State of Florida. At all times

pertinent to this action, Defendant has been an “employer” as that term is used under the

applicable laws identified above.

                                 CONDITIONS PRECEDENT

       5.      Plaintiff has satisfied all conditions precedent to bringing this action in that

Plaintiff filed a charge of discrimination with the Florida Commission on Human Relations and

the EEOC. This action is timely brought thereafter.

                         STATEMENT OF THE ULTIMATE FACTS

       6.      Plaintiff, an African American male, began his employment with Defendant in

1999 and currently holds the position of correctional services consultant.

       7.      Plaintiff has been and continues to be subjected to disparate treatment, different

terms and conditions of employment and was held to a different standard because of his race. He

has also been subjected to retaliation after reporting discrimination.

       8.      Plaintiff filed a FCHR complaint in January 14, 2017, alleging that Defendant

failed to promote him because of his race.

       9.      Plaintiff applied for the Correctional Programs Administrator position and was

not selected. A substantially younger, white candidate with less experience and less qualified

than Plaintiff was selected. The decision to not select Plaintiff for the promotion even though he

was more qualified was because of his race and age.

       10.     Defendant hired a substantially younger white male with no experience for the

position of Correctional Programs Administrator.

       11.     Brooke Powell, former DOC supervisor, did not like Plaintiff because of his race

and age. Brooke Powell directed the search to fill the Correctional Programs Administrator

                                                 2
       Case 4:18-cv-00382-MW-MAF Document 31 Filed 12/03/18 Page 3 of 9




position and directed the position to Jeff Bertera. Powell told Plaintiff that he was not a team

player and would not get promoted. Powell’s actions here were nothing short of garden variety

racism and discrimination.

       12.     Brooke Powell tainted the entire interview panel, including Jeff Beasley, former

head of the Intelligence Unit at DOC, against Plaintiff, because of his race and age.

       13.     Powell and Beasley made the decision to not offer the position of Correctional

Program Administrator to Plaintiff, due to his race and age.

       14.     Powell further insulted Plaintiff when she forced Plaintiff to sit on interview

panels for the position of Correctional Programs Administrator, the same position he interviewed

for, without telling Plaintiff that she had already made her mind that he would not get the job.

       15.     Plaintiff has retained the undersigned to represent his interests in this cause and is

obligated to pay her a fee for their services. Defendant should be made to pay said fee under the

laws identified above.

                      Allegations Pertaining to Religious Discrimination

       16.     On or about October 24, 2016, Plaintiff was requested to participate in a

Halloween door decorating contest at DOC by Brooke Powell. Plaintiff informed Powell that he

could not participate because of his religion, but that he would be happy to make a monetary

donation for the supplies needed to decorate the door for the DOC Halloween Door Decorating

Contest. Indeed, Plaintiff is also a Pastor in his church and participating in such a contest would

have been contrary to not only his religious beliefs but also his teachings to his church members.

In response to his objection based on his religion, Plaintiff was told that he was a poor team

leader and that he would have trouble advancing at DOC because of it.

       17.     Less than approximately thirty (30) days after the door decorating incident,

                                                 3
       Case 4:18-cv-00382-MW-MAF Document 31 Filed 12/03/18 Page 4 of 9




Plaintiff was retaliated against by DOC and Brooke Powell in failing to promote him for the

position of Correctional Program Administrator because he was told that he was a poor team

leader. Plaintiff was not accommodated by DOC for his religious beliefs by relieving him of the

responsibility for participating in the Halloween Door Decorating Contest which became

mandatory based on DOC’s actions. He suffered adverse actions as a result. DOC also took

action against him because of his religious beliefs by failing to promote him as alleged herein.

                                            COUNT I
                          Race Discrimination in Violation of Title VII
                    of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.

        18.     Paragraphs 1 through 17 are re-alleged and incorporated herein by reference.

        19.     This is an action against Defendant for discrimination based upon race brought

under 42 U.S.C. §2000e et seq..

        20.     Plaintiff has been the victim of discrimination on the basis of his race in that he

was treated differently than similarly situated white employees of Defendant and has been

subject to hostility and poor treatment on the basis, at least in part, of his race.

        21.     Defendant is liable for the differential treatment and hostility towards Plaintiff

because it controlled the actions and inactions of the persons making decisions affecting Plaintiff

or it knew or should have known of these actions and inactions and failed to take prompt and

adequate remedial action or took no action at all to prevent the abuses to Plaintiff.

        22.     Furthermore, Defendant knowingly condoned and ratified the differential

treatment of Plaintiff as more fully set forth above because it allowed the differential treatment

and participated in same.

        23.     Defendant's known allowance and ratification of these actions and inactions

created, perpetuated and facilitated an abusive and offensive work environment within the

                                                   4
          Case 4:18-cv-00382-MW-MAF Document 31 Filed 12/03/18 Page 5 of 9




meaning of the statutes referenced above.

          24.   In essence, the actions of agents of Defendant, which were each condoned and

ratified by Defendant, were of a race-based nature and in violation of the laws set forth herein.

          25.   The discrimination complained of herein affected a term, condition, or privilege

of Plaintiff's continued employment with Defendant and constitutes adverse employment action.

          26.   Defendant's conduct and omissions constitutes intentional discrimination and

unlawful employment practices based upon race in violation of 42 U.S.C. §2000e et seq..

          27.   As a direct and proximate result of Defendant's conduct described above, Plaintiff

has suffered emotional distress, mental pain and suffering, past and future pecuniary losses,

inconvenience, mental anguish, loss of enjoyment of life and other non-pecuniary losses, along

with lost back and front pay, interest on pay, bonuses, and other benefits. These damages have

occurred in the past, are permanent and continuing. Plaintiff is entitled to injunctive relief.

                                       COUNT II
        Age Discrimination in Violation of the Age Discrimination in Employment
      Act, 29 U.S.C. §621 et seq. (“ADEA”) and for Injunctive and Prospective Relief

          28.   Paragraphs 1-17 are hereby re-alleged and reincorporated as if set forth in full

herein.

          29.   Defendant is an employer as that term is used under the applicable statutes

referenced above.

          30.   Plaintiff is a protected individual under the ADEA.

          31.   Plaintiff was discriminated against and denied a promotion because of his age and

in favor of a substantially younger individual.

          32.   The acts of Defendant violated the ADEA.

          33.   Plaintiff does not seek monetary relief against Defendant under this Count.

                                                  5
          Case 4:18-cv-00382-MW-MAF Document 31 Filed 12/03/18 Page 6 of 9




Plaintiff seeks injunctive and prospective relief only plus attorney’s fees and costs and any other

relief available to Plaintiff under the law.

                                            COUNT I
                        Religious Discrimination in Violation of Title VII
                    of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.


          34.   Paragraphs 1-17 are hereby re-alleged and reincorporated as if set forth in full

herein.

          35.   This is an action against Defendant for discrimination based upon religion

brought under 42 U.S.C. §2000e et seq.. This is both a disparate treatment claim and a failure to

accommodate claim.

          36.   Plaintiff has been the victim of discrimination on the basis of his religion in that

he was treated differently than similarly situated employees who did not share the same religious

beliefs as Plaintiff by the Defendant and has been subject to hostility and poor treatment on the

basis, at least in part, of his race. Defendant also failed to accommodate his religious beliefs

resulting in the failure to promote him.

          37.   Defendant is liable for the differential treatment and hostility towards Plaintiff

because it controlled the actions and inactions of the persons making decisions affecting Plaintiff

or it knew or should have known of these actions and inactions and failed to take prompt and

adequate remedial action or took no action at all to prevent the abuses to Plaintiff.

          38.   Furthermore, Defendant knowingly condoned and ratified the differential

treatment of Plaintiff as more fully set forth above because it allowed the differential treatment

and participated in same.

          39.   Defendant's known allowance and ratification of these actions and inactions


                                                 6
          Case 4:18-cv-00382-MW-MAF Document 31 Filed 12/03/18 Page 7 of 9




created, perpetuated and facilitated an abusive and offensive work environment within the

meaning of the statutes referenced above.

          40.    In essence, the actions of agents of Defendant, which were each condoned and

ratified by Defendant, were of a religious-based nature and in violation of the laws set forth

herein.

          41.    The discrimination complained of herein affected a term, condition, or privilege

of Plaintiff's continued employment with Defendant and constitutes adverse employment action.

          42.    Defendant's conduct and omissions constitutes intentional discrimination and

unlawful employment practices based upon religion in violation of 42 U.S.C. §2000e et seq..

          43.    As a direct and proximate result of Defendant's conduct described above, Plaintiff

has suffered emotional distress, mental pain and suffering, past and future pecuniary losses,

inconvenience, mental anguish, loss of enjoyment of life and other non-pecuniary losses, along

with lost back and front pay, interest on pay, bonuses, and other benefits. These damages have

occurred in the past, are permanent and continuing. Plaintiff is entitled to injunctive relief.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for the following relief:

                 a.      that process issue and this Court take jurisdiction over this case;

                 b.      that this Court grant equitable relief against Defendant under the

          applicable counts set forth above, mandating Defendant's obedience to the laws

          enumerated herein and providing other equitable relief to Plaintiff;

                 c.      enter judgment against Defendant and for Plaintiff awarding damages to

          Plaintiff from Defendant for Defendant's violations of law enumerated herein;

                 d.      enter judgment against Defendant and for Plaintiff permanently enjoining

                                                   7
Case 4:18-cv-00382-MW-MAF Document 31 Filed 12/03/18 Page 8 of 9




Defendant from future violations of law enumerated herein;

       e.        enter judgment against Defendant and for Plaintiff awarding Plaintiff

attorney's fees and costs; and

       f.        grant such other further relief as being just and proper under the

circumstances.



                        DEMAND FOR TRIAL BY JURY

Plaintiff hereby demands a trial by jury on all issues set forth herein which are so triable.

                                       Respectfully submitted,

                                       The Law Offices of
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                                       _/s/ Ryan J. Andrews________________
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                                       /s/ Marie A. Mattox____________
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                                          8
      Case 4:18-cv-00382-MW-MAF Document 31 Filed 12/03/18 Page 9 of 9




                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing has been served by
electronic transmission this 3rd day of December, 2018, to:
       Elmer C. Ignacio, Esq.
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                                               9
